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     Attorneys for Jesse Wheeler
 5
 6                        IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9                                              )   Case No.: 2:11-cr-00504-03 WBS
     UNITED STATES OF AMERICA,                  )
10                                              )   STIPULATION AND ORDER FOR
                   Plaintiff,                   )   EXTENSION OF SELF-SURRENDER
11                                              )   DATE
          vs.                                   )
12   JESSE WHEELER,                             )
                                                )
13                 Defendant.                   )
                                                )
14
15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   date by which Jesse Wheeler must turn himself in to the Bureau of Prisons is extended
17   from January 8, 2015, to February 13, 2015. Lee Bickley, Assistant United States
18   Attorney, does not object to the extension. The extension is needed because Mr. Wheeler
19   was placed in a Bureau of Prisons facility in Colorado which is over 1,000 miles from his
20   home. Mr. Wheeler needs additional time to petition the Bureau of Prisons to re-assign
21   Mr. Wheeler to a facility located in California so that Mr. Wheeler may maintain contact
22   with his family while in custody. All other previously ordered conditions of release
23   remain in full force and effect.
24
25   IT IS SO STIPULATED.
26
     DATED: December 16, 2014                        By:     /s/ Thomas A. Johnson_____
27                                                          THOMAS A. JOHNSON
                                                            Attorney for Jesse Wheeler
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     DATED: December 16, 2014                         BENJAMIN B. WAGNER
 1                                                    United States Attorney
 2                                             By:    /s/ Thomas A. Johnson for_
                                                      Lee Bickley
 3                                                    Assistant U.S. Attorney
 4
     IT IS SO ORDERED. However, the court is not inclined to extend the date any
 5
     further beyond February 13, 2015.
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     Dated: December 31, 2014
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